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                                IN THE UNITED STATES DISTRICT COURT
                                 FOR THE WESTERN DISTRICT OF TEXAS
                                           WACO DIVISION

                                                            §
JANE DOE 1, et al.,                                         §
                                                            §                      6:16-CV-173-RP
                  Plaintiffs,                               §
                                                            §                      Consolidated with
v.                                                          §                      6:17-CV-228-RP
                                                            §                      6:17-CV-236-RP
BAYLOR UNIVERSITY,                                          §
                                                            §
                  Defendant.                                §

                                                      ORDER

         On August 21, 2017, the Court entered the parties’ Stipulated Order Regarding Discovery of

Electronically Stored Information, which set a time frame for discovery. (ESI Order, Dkt. 176). The

parties agreed: “Only ESI created or received between January 1, 2003 and June 15, 2016 will be

preserved and produced. The foregoing date limitations, however, do not prevent the parties from

contending that relevant evidence arose or exists outside the date limitations.” (Id. ¶ 1(b)). The

parties’ recent briefing indicates that those dates are now in dispute.1 However, the parties agree that

the ESI Order dates should be revised. (See Baylor Mot. Protection, Dkt. 621, at 7).

         The Court also agrees that the dates in the ESI Order must be revised. “The scope of

discovery is broad and permits the discovery of ‘any nonprivileged matter that is relevant to any

party’s claim or defense.’” Crosby v. La. Health Serv. & Indem. Co., 647 F.3d 258, 262 (5th Cir. 2011)

(citing Fed. R. Civ. P. 26(b)(1)). On February 6, 2019, the Court consolidated discovery in this action

with Jane Doe 11 v. Baylor University, No. 6:17-cv-228-RP and Jane Doe 12 et. al v. Baylor University, No.

6:17-cv-236-RP, which allege relevant facts after June 15, 2016. For example, Jane Doe 11 alleges

that she was sexually assaulted in April 2017. (See Jane Doe 11 v. Baylor University, No. 6:17-cv-228-RP


1(See, e.g., Pepper Hamilton Mot. Reconsid., Dkt. 612, at 4; Mot. Reconsid. Ketchum Order, Dkt. 628, at 3; Pls.’ Resp.
Mot. Reconsid. Ketchum Order, Dkt. 633, at 5).

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(Compl., Dkt. 1, ¶ 51)). Additionally, Jane Doe 12, Jane Doe 14, and Jane Doe 15 allege that they

were assaulted in March, April, and February 2016, respectively. (See Jane Doe 12 et. al v. Baylor

University, No. 6:17-cv-236-RP (Am. Compl., Dkt. 14, ¶¶ 50, 69, 106–09, 136)). Given that Baylor’s

response to their reports of sexual assault is a central question of fact in this case, and the

university’s response to assaults reported in winter and spring 2016 would have almost certainly

continued after June 15, 2016, Plaintiffs’ requests for information after that date is reasonably

calculated to lead to the discovery of admissible evidence that may be relevant to either Plaintiffs’

claims or Baylor’s defense, or both. See Crosby, 647 F.3d at 262. The Court also notes that it has

already rejected Baylor’s proposed restrictions on the scope of discovery regarding, for example,

Baylor’s implementation of Pepper Hamilton’s recommendations in the summer of 2016 and the

Baylor Regents’ decision in the fall of 2016 affirming the investigation and findings. (Order on

Scope of Discovery, Dkt. 565).

        Agreed amended ESI dates will resolve a number of issues pending in the Court’s docket.

The parties are ORDERED to confer in good faith and submit joint proposed amended ESI dates

in the following format on or before May 23, 2019, at 12:00 p.m. CDT:

        “Only ESI created or received between January 1, 2003 and ___________ will be
        preserved and produced. The foregoing date limitations, however, do not prevent
        the parties from contending that relevant evidence arose or exists outside the date
        limitations.”

These dates will apply for all discovery in this case.


        SIGNED on May 20, 2019.


                                              _____________________________________
                                              ROBERT PITMAN
                                              UNITED STATES DISTRICT JUDGE




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